                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


 L.W., et al.,

        Plaintiffs,                                 Case No. 3:23-cv-00376

 v.                                                 Judge Eli J. Richardson
                                                    Magistrate Judge Alistair E. Newbern
 JONATHAN SKRMETTI, et al.,

        Defendants.


                                              ORDER

       Defendants ask the Court to extend their deadline to respond to Plaintiffs’ complaint and

the United States’ complaint in intervention from July 19, 2023, until twenty-one days after the

Sixth Circuit resolves Defendants’ appeal of this Court’s preliminary injunction and to continue

the initial case management conference set on August 10, 2023, until a reasonable time after they

have responded. (Doc. No. 175.) Defendants note that the Sixth Circuit has set September 30,

2023, as the anticipated deadline for resolution of their appeal and predict that the Sixth Circuit’s

anticipated ruling will affect their responsive pleading and the scope and nature of discovery to be

taken. Plaintiffs and the United States do not object to Defendants’ motion.

       The motion is GRANTED. The initial case management conference set on August 10,

2023, is CANCELLED. Defendants shall respond to the complaint and complaint in intervention

no later than twenty-one days after the Sixth Circuit issues its ruling on their appeal of this Court’s

preliminary injunction.

       By no later than twenty-eight days after the Sixth Circuit issues its ruling, Defendants shall

file a motion to reset the initial case management conference that proposes mutually convenient




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dates and times for the conference determined after meeting and conferring with counsel for

Plaintiffs and the United States.

       It is so ORDERED.



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                                                ALISTAIR E. NEWBERN
                                                United States Magistrate Judge




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